                    Case 17-15980-mdc                    Doc         Filed 10/05/22 Entered 10/05/22 14:27:32                                  Desc Main
                                                                     Document      Page 1 of 2

           Fill in this information to identify the Fill in this information to identify the case:
           Debtor 1    Felicia L. Harrison


           Debtor 2

           United States Bankruptcy Court for the EASTERN District of Pennsylvania


           Case number 17-15980 MDC




           Official Form 410S1
           Notice of Mortgage Payment Change                                                                                                               12/15

           If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
           debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
           as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.


            Name of creditor: PENNYMAC LOAN SERVICES, LLC                                            Court claim no. (if known): 9-1


            Last 4 digits of any number you use to                                                   Date of payment change:
            identify the debtor’s account: 2357                                                      Must be at least 21 days after date            11/01/2021
                                                                                                     of this notice

                                                                                                     New total payment:                         $750.54
                                                                                                     Principal, interest, and escrow, if any
             Part 1: Escrow Account Payment Adjustment

             1.    Will there be a change in the debtor’s escrow account payment?
                   No
                   
                    Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe
                            the basis for the change. If a statement is not attached, explain why:


                            Current escrow payment: $                                           New escrow payment:              $



                  Part 2:    Mortgage Payment Adjustment


             2.    Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the
                   debtor's variable-rate account?
                   No
                   
                    Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                            attached, explain why:


                            Current interest rate:                               %              New interest rate:                                 %

                            Current principal and interest payment: $                         New principal and interest payment: $


              Part 3:         Other Payment Change

             3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
                   
                    No
                   Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                            (Court approval may be required before the payment change can take effect.)

                            Reason for change:Loan Modification Agreement effective 11/01/2021.                                                             _

                            Current mortgage payment: $908.33                                   New mortgage payment: $750.54


         Official Form 410S1                                            Notice of Mortgage Payment Change                                                        page 1

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                     Case 17-15980-mdc                          Doc     Filed 10/05/22 Entered 10/05/22 14:27:32                      Desc Main
                                                                        Document      Page 2 of 2

           Debtor(s)         Felicia L. Harrison                  Case number (if known) 17-15980 MDC
                             First Name      Middle Name          Last Name




            Part 4:         Sign Here


            The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
            telephone number.
            Check the appropriate box.

                
                 I am the creditor.

                
                 I am the creditor’s authorized agent.



            I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
            knowledge, information, and reasonable belief.



           /s/${s:1:y:_______________________________}                                             Date   ${datefield:1:y:____________}
                                                                                                           10/04/2022
                Signature
           Print: Brian Nicholas
                    04 Oct 2022, 16:56:05, EDT


            Title    Attorney for Creditor_____


            Company             KML Law Group, P.C.__________________________


            Address             701           Market Street, Suite 5000______________
                                Number                 Street
                               Philadelphia,                                      PA      19106
                                City                                              State      ZIP Code



            Contact phone       (215) 627–1322                         Email    bkgroup@kmllawgroup.com




         Official Form 410S1                                                  Notice of Mortgage Payment Change                                   page 2

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